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 8                           UNITED STATES DISTRICT COURT

 9                      FOR THE CENTRAL DISTRICT OF CALIFORNIA

10                              January 2023 Grand Jury

11   UNITED STATES OF AMERICA,                CR 2:23-cr-00126-FLA

12             Plaintiff,                     I N D I C T M E N T

13             v.                             [18 U.S.C. §§ 922(g)(1), (9),
                                              924(e)(1): Prohibited Person in
14   MARC JESUS LOPEZ and                     Possession of Ammunition; 18
     JUAN NICOLAS BENITEZ,                    U.S.C. § 924(d)(1) and 28 U.S.C.
15                                            § 2461(c): Criminal Forfeiture]
               Defendants.
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18        The Grand Jury charges:
19                                  [ALL DEFENDANTS]
20                  [18 U.S.C. §§ 922(g)(1), (9), 924(e)(1), 2(a)]
21        On or about February 3, 2022, in Los Angeles County, within the
22   Central District of California, defendants MARC JESUS LOPEZ and JUAN
23   NICOLAS BENITEZ, each aiding and abetting the other, knowingly
24   possessed approximately 61 rounds of Prvi Partizan and CCI/Speer 9mm
25   caliber ammunition, including two rounds in defendant BENITEZ’s pants
26   pocket, two rounds in another pair of jeans, twelve rounds loaded
27   within two Glock-style Polymer80 9mm caliber handguns that did not
28   contain a legitimate manufacturing mark or serial number (also known
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 1   as a “ghost gun”), and forty-five rounds loaded in two large capacity

 2   magazines, in and affecting interstate and foreign commerce.

 3        Defendant LOPEZ possessed such ammunition knowing that he had

 4   previously been convicted of at least one of the following felony

 5   crimes, each punishable by a term of imprisonment exceeding one year,

 6   namely:

 7        1.    Assault by Means Likely to Produce Great Bodily Injury, in

 8   violation of California Penal Code Section 245(a)(1), in the Superior

 9   Court of the State of California, County of Los Angeles, Case Number

10   SA076671, on or about March 25, 2011;

11        2.    Assault by Means Likely to Produce Great Bodily Injury, in

12   violation of California Penal Code Section 245(a)(4), in the Superior

13   Court of the State of California, County of Los Angeles, Case Number

14   SA081508, on or about November 26, 2012;

15        3.    Injuring a Spouse, Cohabitant, in violation of California

16   Penal Code Section 273.5(f)(2), in the Superior Court of the State of

17   California, County of Los Angeles, Case Number SA090508, on or about

18   June 17, 2015;

19        4.    Assault with Bodily Injury, in violation of California

20   Penal Code Section 245(a)(4), in the Superior Court of the State of

21   California, County of Los Angeles, Case Number SA094939, on or about

22   March 13, 2017;

23        5.    Possession of Firearm by Felon, in violation of California

24   Penal Code Section 29800(a)(1), in the Superior Court of the State of

25   California, County of Los Angeles, Case Number BA468797, on or about

26   July 18, 2018; and

27        6.    Possession of Firearm by Felon, in violation of California

28   Penal Code Section 29800(a)(1), in the Superior Court of the State of
                                             2
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 1   California, County of Los Angeles, Case Number YA101212-01, on or

 2   about December 10, 2019.

 3        Defendant LOPEZ possessed such ammunition knowing that he had

 4   been convicted of a misdemeanor crime of domestic violence, namely,

 5   Domestic Battery, in violation of California Penal Code Sections 242-

 6   243(e)(1), in the Superior Court of the State of California, County

 7   of Los Angeles, Case Number 2WA00777, on or about November 27, 2012.

 8        Defendant LOPEZ possessed such ammunition knowing that he had

 9   previously been convicted of at least three of the following violent

10   felony crimes, as defined in Title 18, United States Code, Section

11   924(e), committed on occasions different from one another:

12        1.    Assault by Means Likely to Produce Great Bodily Injury, in

13   violation of California Penal Code Section 245(a)(1), in the Superior

14   Court of the State of California, County of Los Angeles, Case Number

15   SA076671, on or about March 25, 2011.

16        2.    Assault by Means Likely to Produce Great Bodily Injury, in

17   violation of California Penal Code Section 245(a)(4), in the Superior

18   Court of the State of California, County of Los Angeles, Case Number

19   SA081508, on or about November 26, 2012.

20        3.    Injuring a Spouse, Cohabitant, in violation of California

21   Penal Code Section 273.5(f)(2), in the Superior Court of the State of

22   California, County of Los Angeles, Case Number SA090508, on or about

23   June 17, 2015.

24        4.    Assault with Bodily Injury, in violation of California

25   Penal Code Section 245(a)(4), in the Superior Court of the State of

26   California, County of Los Angeles, Case Number SA094939, on or about

27   March 13, 2017.

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 1           Defendant BENITEZ possessed such ammunition knowing that he had

 2   been convicted of a misdemeanor crime of domestic violence, namely,

 3   Corporal Injury to a Spouse, in violation of California Penal Code

 4   Section 273.5, in the Superior Court for the State of California,

 5   County of Los Angeles, Case Number 1CJ03361, on or about September 7,

 6   2021.

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 1                                  FORFEITURE ALLEGATION

 2                  [18 U.S.C. § 924(d)(1) and 28 U.S.C. § 2461(c)]

 3           1.    Pursuant to Rule 32.2 of the Federal Rules of Criminal

 4   Procedure, notice is hereby given that the United States of America

 5   will seek forfeiture as part of any sentence, pursuant to Title 18,

 6   United States Code, Section 924(d)(1), and Title 28, United States

 7   Code, Section 2461(c), in the event of any defendant’s conviction of

 8   the offenses set forth in this Indictment.

 9           2.    Any defendant so convicted shall forfeit to the United

10   States of America the following:

11                 (a)   All right, title, and interest in any firearm or

12   ammunition involved in or used in any such offense; and

13                 (b)   To the extent such property is not available for

14   forfeiture, a sum of money equal to the total value of the property

15   described in subparagraph (a).

16           3.    Pursuant to Title 21, United States Code, Section 853(p),

17   as incorporated by Title 28, United States Code, Section 2461(c), the

18   convicted defendant shall forfeit substitute property, up to the

19   value of the property described in the preceding paragraph if, as the

20   result of any act or omission of said defendant, the property

21   described in the preceding paragraph or any portion thereof (a)

22   cannot be located upon the exercise of due diligence; (b) has been

23   transferred, sold to, or deposited with a third party; (c) has been

24   placed beyond the jurisdiction of the court; (d) has been

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 1   substantially diminished in value; or (e) has been commingled with

 2   other property that cannot be divided without difficulty.

 3                                               A TRUE BILL
 4

 5                                                    /S/
                                                 Foreperson
 6

 7   E. MARTIN ESTRADA
     United States Attorney
 8
     MACK E. JENKINS
 9   Assistant United States Attorney
     Chief, Criminal Division
10

11

12   SCOTT M. GARRINGER
     Assistant United States Attorney
13   Deputy Chief, Criminal Division
14   SHAWN J. NELSON
     Assistant United States Attorney
15   Acting Deputy Chief, General
     Crimes Section
16
     SAMUEL J. DIAZ
17   Assistant United States Attorney
     International Narcotics, Money
18   Laundering, & Racketeering
     Section
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